              Case 1:14-cr-00051 Document 14 Filed 02/08/18 Page 1 of 1



                            UNITED STATES DISTRICT COURT
                                DISTRICT OF C OLUMBIA

                                      CASE NO. 1:14-cr-00051


UNITED STATES OF AMERICA,


                        Plaintiff,
v.

ABIGAEL GONZALEZ VALENCIA,

                         Defendant.
__________________________________________________/


                                     NOTICE OF APPEARANCE


        The Clerk and all parties to this action will please note the appearance of the undersigned

attorney as counsel for the Defendant in the above-styled cause for purposes of trial only.

        Counsel requests that all pleadings, notices, and/or other papers be sent to said counsel by

the Clerk of the above Court.

                                 CERTIFICATE OF SER VICE

        I HEREBY CERTIFY that on this Thursday, February 8, 18, I electronically filed the
foregoing document with the Clerk of the Court using CM/ECF.
                                                 Respectfully submitted,

                                                 ROJAS & OLIVA, P.A.
                                                 Attorneys for the Defendant
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                                                 By:_____________/S/__________________
                                                         Ruben Oliva, Esq.
                                                         F.B.N. 626074
                                                         D.C. BAR NO. FL0001
